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                   Nos. 21-50259, 21-50261

           United States Court of Appeals
                   FOR THE NINTH CIRCUIT


                UNITED STATES OF AMERICA,
                        PLAINTIFF-APPELLEE

                              v.
                        JUAN CABRERA,
                      DEFENDANT-APPELLANT



      On Appeal from the United States District Court
          for the Southern District of California
               20CR435-LAB; 15CR353-LAB


           SUPPLEMENTAL EXCERPTS OF RECORD




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                               Chief, Appellate Section
                               Criminal Division
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 Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 2 of 24




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 1

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 5

 6                                 UNITED STATES DISTRICT COURT
                                                                       1
                                                                       l
 7                                SOUTHERN DISTRICT OF CAL~FORNIA

 8                                    January 2019 Grand Jury

 9
     UNITED STATES OF AMERICA,                           Case No.                20CR-435L
10                   Plaintiff,
                                                         .! ~   _Q   ~t-~   T    ~_§~I                      j
11
           v.                                            Title 8, U.S.C., Sec. 1325(a) (1) ·, _
                                                         Attempted Unlawful Entry by an
12   JUAN CARLOS CABRERA,                                Alien (Felony); Title 8, U.S.C.,
                                                         Sec. 1326(a) and (b) - Attempted
13                   Defendant.                          Reentry of Removed Alien

14

15
          The grand jury charges:
16
                                                 Count 1
17
          On    or    about   November      4,   2019,     within           the      Southern    District    of
18
     California,       defendant     JUAN    CARLOS      CABRERA,           an       alien,   knowingly     and
19
     intentionally attempted to enter the United States of America with the
20
     purpose,   i.e.,    conscious desire,         to enter the United States at a time
21
     and place other than as designated by immigration officers, and committed
22
     an overt act,      to wit,     crossing the border from Mexico into the United
23
     States,    that    was   a   substantial     step towards                  committing      the   offense,
24
     having previously committed the offense of illegal entry,                                  as evidenced
25
     by his/her conviction           for    violation of Title                  8,    United States      Code,
26
     Section 1325; all in violation of Title 8,                        United States Code,             Section
27
     1325(a) (1), a felony.
28


     BLH:cms:San Diego:2/5/20              SER-003
           CaseCase: 21-50259, 01/10/2023,
                3:20-cr-00435-LAB          ID: 12627558,
                                    Document             DktEntry:
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                                                                                  2 of 2




 1                                               Count 2

 2           On   or    about   November    4,   2019,     within    the     Southern      District    of

 3   California,        defendant    JUAN    CARLOS       CABRERA,     an    alien,      knowingly    and

 4   intentionally attempted to enter the United States of America with the

 5   purpose, i.e., conscious desire, to enter the United States without the

 6   express consent of the Attorney General of the United States and his/her

 7   designated         successor,   the    Secretary       of   the    Department        of    Homeland

 8   Security,      after having been previously excluded,                   deported and removed

 9   from the United States, and not having obtained said express consent to

10   reapply      for    admission    thereto;     and     committed        an   overt    act   to   wit,

11   crossing the border into the United States, that was a substantial step

12   toward committing the offense, all in violation of Title 8, United States

13   Code, Section 1326(a) and (b).

14           It is further alleged that defendant JUAN CARLOS CABRERA was removed

15   from the United States subsequent to December 18, 2015.

16           DATED: February 6, 2020.

17                                                           A TRUE BILL:

18

19                                                           f;Json
20   ROBERTS. BREWER, JR.
     United States Attorney
21

22
     By:
23
                                 Attorney
24

25

26

27

28
                                                      2
                                           SER-004
       Case: 21-50259, 01/10/2023,
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                                                                                      1



    1                           UNITED STATES DISTRICT COURT

    2                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA

    3

    4    UNITED STATES OF AMERICA,                     )
                                                       )
    5           Plaintiff,                             )   No. 20-CR-435-LAB
                                                       )
    6                 v.                               )
                                                       )   June 9, 2021
    7    JUAN CARLOS CABRERA,                          )
                                                       )   9:00 a.m.
    8          Defendant.                              )
         _________________________________             )   San Diego, California
    9

   10                         TRANSCRIPT OF JURY TRIAL - DAY 2
                            BEFORE THE HONORABLE LARRY ALAN BURNS
   11                           UNITED STATES DISTRICT JUDGE

   12   APPEARANCES:

   13    For the Plaintiff:              UNITED STATES ATTORNEYS OFFICE
                                         By: COLIN MCDONALD, ESQ.
   14                                         AMANDA MUSKAT, ESQ.
                                         880 Front Street
   15                                    San Diego, California 92101

   16   For the Defendant:               FEDERAL DEFENDERS OF SAN DIEGO, INC.
                                         By: BENJAMIN P. DAVIS, ESQ.
   17                                         SALIL DUDANI, ESQ.
                                         225 Broadway
   18                                    San Diego, California 92101

   19

   20    Court Reporter:                CYNTHIA R. OTT, RDR, CRR
                                        District Court Clerk's Office
   21                                   West Broadway, Suite 420
                                        San Diego, California, 92101
   22                                   cynthia_ott@casd.uscourts.gov

   23

   24
         Reported by Stenotype, Transcribed by Computer
   25




                                  SER-005
       Case: 21-50259, 01/10/2023,
Case 3:20-cr-00435-LAB   Document ID:
                                   10412627558,  DktEntry:
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    1    wants to take his or her mask off may do so.

    2                We worked on the instructions.           We have a settled set

    3    of instructions.       To remind you, I'm going to read instructions

    4    to you.

    5                I'm required to do that.         You might think, well, wait

    6    a minute, he's supposed to make efficient use of our time.

    7    He's giving us these.         We can read them.       Why is he reading

    8    them.

    9                I'm required to read them in open court.              It's one of

   10    the rules and I think it reflects the centrality of both the

   11    instructions and your findings of fact in the process of

   12    reaching a verdict.        I think that's why they want me to read

   13    them to you.

   14                But it doesn't take very long and what I'll do is I'll

   15    read you all but the last five which have to do with the

   16    deliberation process, let the lawyers sum up their cases to

   17    you, and sandwich that in-between the reading of the last

   18    instructions.      And then as I mentioned, this copy of the

   19    instructions will go with you into the jury room along with all

   20    the other evidence that's been received in this case.

   21                Members of the Jury, now that you've heard all the

   22    evidence, it's my duty to instruct you on the law that applies.

   23    It's your duty as jurors to weigh and evaluate all the evidence

   24    that's been received in this case and in that process to decide

   25    what the facts are.




                                  SER-006
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                                                                PageID.146     of 241 of 2

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____Retained        X      Appointed


                              IN THE UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF CALIFORNIA

Trial Judge: Honorable Larry A. Burns          Court Reporter: Cynthia Ott

United States of America,           )                Case No.: 15CR00353-LAB
                                    )
(Appellee) Plaintiff,               )
                                    )                Notice of Appeal (Criminal)
             vs.                    )
                                    )
Juan Carlos Cabrera,                )
                                    )
(Appellant) Defendant.              )
____________________________________)

      Notice is hereby given that Juan Carlos Cabrera, Appellant-Defendant above-named, hereby
appeals to the United States Court of Appeals for the Ninth Circuit from the

( x ) final judgment (F. R. Crim. P. 32(b))

( ) sentence only (18 U.S.C. ' 3742) Sentence imposed                     .

( ) order (describe):

the last of which was entered in this proceeding on the 15th day of November 2021.

If government appeal: Was the filing of this appeal approved in accordance with 18 U.S.C.
' 3742(b)(4)?   Yes    No


Dated: November 16, 2021                                     s/ Benjamin P. Davis
                                                             Signature*


                                              SER-012
         Case Case: 21-50259, 01/10/2023,
              3:15-cr-00353-LAB   DocumentID:86
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                                                                PageID.147     of 242 of 2

Transcripts Required** x Yes          No        Date Ordered or to be ordered: 11/19/2021

Date    ( ) Indictment      ( x ) Information        Filed 02/12/2015

Bail Status    in custody

Will there be a request to expedite the appeal and set a schedule faster than that normally set?
       Yes x No (Note: This does not alleviate requirement of FRAP 27-12 a motion to
expedite which must be done in accordance with FRAP 27).
____________________________________________________________________________
 *Pursuant to Fed. R. Crim. P. 32(a)(2) the defendant may request the clerk to prepare and file the
Notice of Appeal.

**If transcript required, transcript order form (CA9-036 must be completed and court reporter
contacted to make arrangements for transcription.




                                           SER-013
    Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 14 of 24


                                                Pages 1 - 10

                    UNITED STATES DISTRICT COURT

                  SOUTHERN DISTRICT OF CALIFORNIA

Before The Honorable M. James Lorenz, Judge

UNITED STATES OF AMERICA,      )
                               )
           Plaintiff,          )
                               )
  VS.                          )                NO. 15-CR-00353-LAB
                               )
JUAN CARLOS CABRERA,           )
                               )
           Defendant.          )
_______________________________)

                                 San Diego, California
                                 Monday, January 29, 2018

                      TRANSCRIPT OF PROCEEDINGS


APPEARANCES:

For Plaintiff:
                             ALANA W. ROBINSON
                             Acting United States Attorney
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                             San Diego, California 92101
                      BY:    CHRISTOPHER MICHAEL ALEXANDER, ESQ.
                             ASSISTANT UNITED STATES ATTORNEY

For Defendant:
                             FEDERAL DEFENDERS OF SAN DIEGO, INC.
                             225 Broadway, Suite 900
                             San Diego, California 92101
                      BY:    BENJAMIN P. DAVIS, ESQ.
                             ASSISTANT FEDERAL PUBLIC DEFENDER



Court Interpreter:       Paula Navarro-Gomez



Reported By:        James C. Pence-Aviles, RMR, CRR, CSR No. 13059
                    Official Court Reporter



                               SER-014
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 15 of 24      2


1    Monday - January 29, 2018                                         11:12 a.m.

2                             P R O C E E D I N G S

3                                     ---000---

4              THE CLERK:     Calling Matter Numbers -- Number 6 on

5    calendar, please.

6         Matter Number 6, Case Number 15-CR-0353, United States of

7    America versus Juan Carlos Cabrera, on for revocation.

8              MR. DAVIS:     Good morning, Your Honor.          Ben Davis,

9    Federal Defenders, on behalf of Mr. Cabrera.

10             MR. ALEXANDER:      And good morning, Your Honor.

11   Christopher Alexander for the United States.

12             THE COURT:     Good morning.

13        This is Number 6?

14             THE CLERK:     Yes.

15             THE COURT:     Yeah.    Okay.

16             MR. DAVIS:     And, Your Honor, just to give the Court

17   some background on this case, this case -- Mr. Cabrera had a

18   new case before Judge Curiel, and he pleaded guilty on Thursday

19   to a misdemeanor and so -- and was sentenced in that case.

20        And so we're going to be asking the Court to amend the

21   petition to allege a Grade -- a misdemeanor rather than a

22   felony violation.

23             THE COURT:     Okay.    That is -- well, it was originally

24   a 1326?

25             MR. DAVIS:     That's correct, Your Honor.




                                     SER-015
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 16 of 24    3


1             THE COURT:      And he received time served?

2             MR. DAVIS:      Yes, Your Honor, nearly -- nearly five --

3    almost six months.      I think he had been in custody for about

4    five and a half months.       He was arrested on the new case on

5    October -- on August the 10th.         So it will be five -- it will

6    be six months in a week or two.

7         And for the record, Your Honor, Mr. Cabrera is present.

8    He's before the Court in custody.          He's being assisted by the

9    Spanish-language interpreter.

10            THE COURT:      All right.     Then everybody agrees?         The

11   Government, Probation --

12            MR. ALEXANDER:       Yes.

13            THE COURT:      -- agrees that this should be amended to a

14   misdemeanor?

15            MR. ALEXANDER:       Yes.

16            THE COURT:      Yeah.

17        Okay.   What's the guideline range for a misdemeanor?

18            MR. DAVIS:      Your Honor, I have him in Category II,

19   based on the previous case.        The PSR in his previous case puts

20   him in Category II.

21        So it would be a Grade C, Category II, guideline range of

22   four to ten months.

23            MR. ALEXANDER:       And, Your Honor, the United States is

24   in agreement on that.

25            THE COURT:      Okay.    And he's -- you say he's been in




                                    SER-016
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 17 of 24          4


1    custody six months about?

2              MR. DAVIS:     Coming up on six.       I think it's five and a

3    half.

4              THE COURT:     Okay.    What do you have to say on his

5    behalf?

6              MR. DAVIS:     Your Honor, I'm asking the Court to impose

7    a sentence of time served for the violation.             I can give some

8    background of Mr. -- about Mr. Cabrera and also what I've

9    advised him going forward.

10        The reason that we obtained the misdemeanor resolution of

11   this case was because we filed a 1326(d) motion, and the

12   parties -- the parties resolved it with a misdemeanor.

13        It's my expectation that -- you know, he'll certainly be

14   deported again to El Salvador, which is where he's from.                    It's

15   my expectation that he'll likely have a fresh deportation that

16   will not have the problems that we identified in the previous

17   deportation.

18        And I've advised him that I don't expect that there

19   will -- that he will be able to ever get this resolution again.

20   And even if there is no new deportation, of course, the next

21   time, he'll be facing a 1325 felony case.

22        And so he's looking at a Grade -- you know, I expect that

23   he would get the two years on the felony at least, or at least

24   the Government would seek it.

25        Mr. Cabrera is from El Salvador, Your Honor.               He has lived




                                    SER-017
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 18 of 24        5


1    here in the United States for a long time, in Boston.                That's

2    where all of his -- his family is.          His wife and his daughter

3    are both in Boston.      They're both United States citizens.

4         It's been hard for him in El Salvador.             As the Court

5    knows, El Salvador is a very dangerous place right now.                He's

6    been struggling there, and so he was trying -- he was trying to

7    come back to be with the community and the family.               He's part

8    of the Salvadoran community in Boston.

9         So I can tell the Court, Your Honor, that I've told him

10   that -- in no uncertain terms that this is the last time he

11   would -- will ever face any kind of a resolution in this way.

12        He's told me, Your Honor, that he has a plan going

13   forward.   He doesn't think that El Salvador is a place that he

14   can be, just given his background.          I don't know if the Court

15   remembers from the original sentencing, but he was recruited at

16   a young age to participate in the civil war in the 1980's.

17   That's a very, very dangerous thing for him to have on his

18   record.

19        But he has friends and family in Michoacán in Mexico.

20   There's a ranch there that he believes he can work on, people

21   he knows there.     It's closer.      He hopes that his daughter can

22   come visit him there.

23        But that's sort of the solution that he's come up with.

24   He can't be -- it's too dangerous for him in El Salvador.                   He

25   simply can't come to the United States because he doesn't have




                                    SER-018
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 19 of 24        6


1    permission, and he won't get it again, in my opinion.

2         And I think -- I've given him very strong advice about the

3    likelihood of the amount of time that I think he faces if he --

4    if he should return, and I think he's taken it to heart.                    So

5    he's committed to being in Michoacán going forward.

6         So I'd ask the Court to impose a sentence of time served.

7    I'm happy to answer any questions, if the Court likes.

8             THE COURT:      I -- I -- thank you.

9         I've got to have myself -- I need to take his admission.

10            MR. DAVIS:      Oh, yes.

11            THE CLERK:      Sir --

12            THE COURT:      I'll remember what you said.

13            MR. DAVIS:      All right.

14            THE CLERK:      Sir, will you please raise your right

15   hand.

16        Do you solemnly swear or affirm that the evidence you

17   shall give in the cause now before the Court shall be the

18   truth, the whole truth, and nothing but the truth?

19            THE DEFENDANT:       Yes.

20            THE CLERK:      Thank you.     You may lower your hand.

21        Juan Carlos Cabrera, do you now desire to withdraw your

22   formal denial that you violated the conditions of your

23   supervised release and wish to admit to Allegation Number 1?

24        Allegation Number 1 states on August 10th, 2017, you, a

25   previously deported or removed alien, was found in the




                                    SER-019
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 20 of 24   7


1    United States illegally, the conduct of which is in violation

2    of 8, U.S.C., Section 1326, as evidenced by the complaint filed

3    in the U.S. District Court, Southern District of California,

4    Docket Number 17-MJ-02817-001-JMA.

5             MR. DAVIS:      And, Your Honor --

6             THE CLERK:      Do you admit or deny --

7             MR. DAVIS:      -- I'm sorry to interrupt, but he's not

8    prepared to admit that he committed a new violation of 1326.

9    He's prepared to admit that he committed a violation of 1325,

10   which is a misdemeanor.

11            THE COURT:      That's right.      We'll have to amend the --

12   we have to amend it to -- to what it was that he pled to.

13   So -- which is a 1325.

14            MR. DAVIS:      Correct, Your Honor, a misdemeanor

15   violation of 1325.

16            THE COURT:      All right.     With that being said, the

17   violation is 1325, rather than 1326.           It should be

18   interlineated.

19        Okay.   And he admitted, did he?

20            THE DEFENDANT:       Yes.

21            THE COURT:      Okay.    Based on your admission to the 1325

22   misdemeanor, I find you are in violation and -- and revoke

23   supervised release.

24        I have heard, Counsel, your -- your comments and your

25   admission to Mr. Cabrera that, you know, if he comes back, it's




                                    SER-020
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 21 of 24    8


1    going to be far more serious, and I agree.

2         The question is, based on the plea of the 1325, was he

3    placed on supervised release?

4             MR. DAVIS:      No.

5             THE COURT:      Okay.

6             MR. DAVIS:      I think, if the Court thinks that more

7    supervised release is appropriate, the Court can reimpose it in

8    this case.

9             THE COURT:      Yeah.    I understand.

10        Okay.   Before I do that, let me ask the defendant whether

11   he has anything he wants to say.

12            THE DEFENDANT:        Just -- yes.

13        I would just like to apologize for coming in illegally to

14   your country, but my plans are to live in -- in Michoacán,

15   where I do have relatives, where I can stay.

16        And that's it.

17            THE COURT:      Okay.    The Government?

18            MR. ALEXANDER:        Your Honor, the only thing I would add

19   is that the defendant did stay out of the country for a period

20   of time, and supervision commenced in January of 2016.                His

21   arrest on this offense conduct was August of 2017.               So he had

22   been out for a year and seven months but elected to return to

23   the United States.

24        Regarding the prior case, the offer that was associated

25   with that case would have provided a guideline range of 10 to




                                    SER-021
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 22 of 24      9


1    16 months in custody.      So when reviewing a possible resolution

2    of this case, rather than bringing new charges, in the event

3    that a deport challenge was successful, we elected to resolve

4    the matter in a manner that was consistent with what sentencing

5    level that he would have received anyway.

6         Ultimately, regarding this case, our position is that we

7    don't know that additional time would be necessary.               But as the

8    Court inquired, we do feel that a term of supervised release

9    would be appropriate here.        It would provide some deterrent to

10   the defendant coming back into the United States, in the event

11   that, you know, what has been represented today was not true,

12   that -- if he actually did come back and commit a new crime.

13        So that's the United States's position regarding what to

14   do with this defendant.

15            THE COURT:      All right.     Thank you.

16        All right.     This is, based on the change to 1325, a

17   Grade C violation, Category II, four to ten months.               He's

18   apparently coming up on six months already.             He was given time

19   served in the underlying case.

20        I'm going to give him time served in this case also, but

21   I'm going to place him on two years' supervised release under

22   the same conditions as previously imposed, which is, I believe,

23   he's not to -- he's not to commit any laws [sic] nor enter the

24   United States.    And if he did -- if he does so, he has to

25   report to Probation within 24 hours, and supervision is waived




                                    SER-022
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 23 of 24       10


1    if he's deported or granted voluntary release.

2         And I do understand, in -- in El Salvador, that there is

3    this terrible violence that's going on.            So,

4    Mr. Carlos Cabrera, you have to find a way to live down there

5    and avoid that -- that violence.

6         I don't envy you, but you can't come back because you're

7    just going to be spending considerable time in custody.                You'll

8    have the underlying offense, and you'll have the violation of

9    this supervised release that I've just given you.               So I think

10   that's sufficient.

11        So with that, the time served should allow you to be

12   released and probably go through the more formal proceedings to

13   avoid the 1326(d) problem that apparently existed.               So that

14   should be the order.

15        Okay.   Thank you.

16            MR. DAVIS:      Thank you, Your Honor.

17                  (Proceedings adjourned at 11:24 a.m.)

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                                    SER-023
         Case: 21-50259, 01/10/2023, ID: 12627558, DktEntry: 26, Page 24 of 24


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3                            CERTIFICATE OF REPORTER

4             I certify that the foregoing is a correct transcript

5    from the record of proceedings in the above-entitled matter.

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7    DATE:   Wednesday, December 14, 2022

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11                         /S/ James C. Pence-Aviles

12            James C. Pence-Aviles, RMR, CRR, CSR No. 13059
                            U.S. Court Reporter
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